            Case 8:22-bk-10948-SC                             Doc 86 Filed 06/22/22 Entered 06/22/22 12:50:51                               Desc
                                                               Main Document    Page 1 of 3




 Fill in this information to identify the case:

 Debtor name         TRX Holdco, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA

 Case number (if known)         8:22-bk-10948-SC
                                                                                                                                   Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          June 22, 2022                           X
                                                                         Signature of individual signing on behalf of debtor

                                                                         Brent Leffel
                                                                         Printed name

                                                                         Chairman of the Board of Managers of TRX Holdco, LLC
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name TRX Holdco, LLC
 United States Bankruptcy Court for the: CENTRAL DISTRICT OF                                                                                         Check if this is an
                                                CALIFORNIA - SANTA ANA
 Case number (if known):         8:22-bk-10948-SC                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 SprintFWD, LLC                  Bryan Arp                       Services                                                                                               $352,600.11
 703 Pier Avenue
 Suite B #632                    bryanarp@gmail.co
 Hermosa Beach, CA               m
 90254
 Comma,8 LLC                     Bryan Arp                       Services                                                                                                 $61,380.23
 703 Pier Avenue
 Suite B #632                    bryanarp@gmail.co
 Hermosa Beach, CA               m
 90254
 Creative Artists                                                Trade Debt                                                                                               $41,668.00
 Agency
 2000 Avenue of the
 Stars Speakers
 Dept.
 Los Angeles, CA
 90067
 Cole Schotz P.C.                                                Professional                                                                                             $13,200.00
 25 Main Street P.O.                                             Services
 Box 800
 Hackensack, NJ
 07602
 Baker Tilly US, LLP                                             Professional                                                                                             $10,335.00
 10 Terrace Court PO                                             Services
 Box 7398
 Madison, WI
 53707-7398
 UDR-Eight 80                                                    Trade Debt                                                                                                 $5,898.00
 1590 Adams Avenue
 PO Box 2350
 Costa Mesa, CA
 92628
 Morrison & Morrison                                             Professional                                                                                               $4,500.00
 222 Souther                                                     Services
 Riverside Plaza
 Chicago, IL 60606



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    TRX Holdco, LLC                                                                                    Case number (if known)         8:22-bk-10948-SC
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Sterling Legal                                                  Professional                                                                                               $1,299.00
 Solutions, Inc.                                                 Services
 26895 Aliso Creek
 Rd., B-129
 Aliso Viejo, CA
 92656
 JMBM LLP                                                        Professional                                                                                                 $156.00
 1900 Avenue of the                                              Services
 Stars
 Los Angeles, CA
 90067




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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